
WARNER, J.,
dissenting with opinion.
I would consider this petition for writ of prohibition as an appeal pursuant to Florida Rule of Appellate Procedure 9.130(a)(4). As such, I would find that the trial court did not have jurisdiction to consider the motion to determine rents filed after the summary judgment had been entered and respondents’ time for filing a motion for rehearing or to amend had passed. I would reverse on the authority of Garcia v. Stewart, 906 So.2d 1117 (Fla. 4th DCA 2005). Nevertheless, because the majority has not ruled on the merits but simply denied the petition, it would appear that petitioners are not barred from asserting further jurisdictional objections to any final order entered on this supplemental pleading.
